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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 HERMENA THOMPSON,
                                                    Case No. 1:20-cv-01383
     Plaintiff,
                                                    Honorable Charles R. Norgle, Sr.
     v.
                                                    Honorable Gabriel Fuentes
 ACCREDITED MANAGEMENT                              Magistrate Judge
 SOLUTIONS LLC,

     Defendant.


                              MOTION FOR DEFAULT JUDGMENT

          NOW COMES HERMENA THOMPSON (“Plaintiff”), through undersigned counsel,

pursuant to Fed. R. Civ. P. 55(b)(2), and respectfully requests this Court enter an order of default

judgment against ACCREDITED MANAGEMENT SOLUTIONS, LLC (“Defendant”).                             In

support thereof, Plaintiff states as follows:

                                          BACKGROUND

          1.      On February 7, 2020, Plaintiff brought suit against Defendant alleging violations

of the Fair Debt Collection Practices Act (the “FDCPA”), 15 U.S.C. § 1692 et seq. and the

Telephone Consumer Protection Act (the “TCPA”), 47 U.S.C. § 227 et seq. [Doc. # 1].

          2.      During 2019 Plaintiff started to receive collection phone calls from Defendant Id.

at ¶15.

          3.      Often times, Plaintiff was met by an automated, machine-operated voice saying:

“...press ‘1’ to speak to … representative.” Id. at ¶17.
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       4.      On several occasions, Plaintiff pressed “1” and was met by clear pause prior to

being transferred to Defendant’s representative. Id. at ¶19.

       5.      Defendant’s asked to speak to “Estella Clark.” Id. at ¶20.

       6.      Estella Clark is Plaintiff’s mother. Id. at ¶21.

       7.      Defendant sought to collect a “debt” as that term is a defined by 15 U.S.C. §

1692a(5). Id. at ¶22.

       8.      Plaintiff informed Defendant she was not Estella. Id. at ¶23.

       9.      Plaintiff then instructed Defendant to stop calling. Id. at ¶24.

       10.     Unfortunately, no less than 10 phone calls have been received from number(s)

leading back to Defendant – including (217) 953-0914. Id. at ¶25.

       11.     Defendant violated 15 U.S.C. §§ 1692e, e(2)(A) and e(10) by targeting Plaintiff

with phone calls seeking to collect debt that she did not owe. Id. at ¶38.

       12.     Defendant placed or caused to be placed no less than 10 non-emergency calls,

including but not limited to the aforementioned collection calls, to Plaintiff’s cellular telephone

utilizing an automatic telephone dialing system (“ATDS”) or an artificial or prerecorded voice

without Plaintiff’s consent in violation of 47 U.S.C. § 227 (b)(1)(A)(iii) Id. at ¶41.

       13.     Complaint and summons were served on March 9, 2021. [Doc. # 5].

       14.     Defendant has failed to plead or otherwise defend in accordance with Fed. R. Civ.

P. 12 on or before June 15, 2020 pursuant to Third Amended General Order 20-0012 IN RE:

CORONAVIRUS COVID-19 PUBLIC EMERGENCY.

       15.     As result, of Defendant’s failure to do so, on April 21, 2021, Plaintiff provided an

update to the court that she would be seeking a Default Judgment. [Doc. # 15].
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       16.     On May 4, 2021, this Honorable Court entered a Minute entry setting a telephonic

presentation of Plaintiff’s Motion for Default and/or Default Judgment for May 20th, 2021 at 10:00

a.m. [Doc. # 16].

                                      RELIEF REQUESTED

       15.     Plaintiff respectfully requests this Court enter an order of default judgment in favor

of Plaintiff, or against Defendant.

                                      BRIEF IN SUPPORT

       16.     Defendant received notice of this action and has willfully failed to plead or

otherwise defend in accordance with Fed. R. Civ. P. 12.

       17.     Plaintiff seeks statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A) and 47

U.S.C. §227 (b)(1)(A)(iii), costs of this action, together with reasonable attorney’s fees pursuant

to 15 U.S.C. § 1692k(a)(3).

I.     Statutory Damages

       A.      Fair Debt Collection Practices Act

       18.     Plaintiff seeks statutory damages of $1,000.00 pursuant to 15 U.S.C. §

1692k(a)(2)(A).

       19.     Section 1692d provides:

               Section 1692d provides: [a] debt collector may not engage in any conduct the

               natural consequence of which is to harass, oppress, or abuse any person in

               connection with the collection of a debt. Without limiting the general application

               of the foregoing, the following conduct is a violation of this section:
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               (5) Causing a telephone to ring or engaging any person in telephone conversation

       repeatedly or continuously with intent to annoy, abuse, or harass any person at the called

       number.

       20.     Section 1692e provides:

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section.

               (2)     the False Representation of- (A) the character, amount, or legal
                       status of any debt.
               (10)    The use of any false representation or deceptive means to collect or
                       attempt to collect any debt or to obtain information concerning a
                       consumer.

       20.     Defendant violated 15 U.S.C. § 1692d(5) by continuously or repeatedly calling

Plaintiff after being asked to cease.

       21.     The phone calls at issue were intended to be annoying, abusive, or harassing.

       22.     Defendant violated 15 U.S.C. §§ 1692e, e(2)(A) and e(10) by targeting Plaintiff

with phone calls seeking to collect debt that she did not owe.

B.     Telephone Consumer Protection Act

       23.     Plaintiff seeks statutory damages pursuant to 47 U.S.C. §227 (b)(1)(A)(iii) and 47

U.S.C. §227 (3)(B).

       24.     Section 227 (b)(1)(A)(iii) provides:

               Restrictions on Use of Automated Telephone Equipment: It shall be unlawful for

               any person within the United States, or any person outside the United States if the

               recipient is within the United States: (A): to any call (other than a call made for

               emergency purposes or made with the prior express consent of the called party)

               using any automatic telephone dialing system or an artificial or pre-recorded voice
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               (iii): to any telephone number assigned to a paging service, cellular telephone

               service, specialized mobile radio service, or other radio common carrier service, or

               any service for which the called party is charged for the call, unless such call is

               made solely to collect a debt owed to or guaranteed by the United States.

       25.     Section 227 (5)(B) provides: A person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may, if otherwise permitted by the laws or rules of court of a State

bring in appropriate court of that State (B): an action to recover for actual monetary loss from such

a violation, or to receive up to %500 in damages for each such violation, whichever is greater. If

the court finds that the defendant willfully or knowingly violated the regulations prescribed under

this subsection, the court may, in its discretion, increase the amount of the award to an amount

equal to not more than 3 times the amount available under subparagraph (B) of this paragraph.

       26.     Defendant placed or caused to be placed no less than 10 non-emergency calls,

including but not limited to the aforementioned collection calls, to Plaintiff’s cellular telephone

utilizing an automatic telephone dialing system (“ATDS”) or an artificial or prerecorded voice

without Plaintiff’s consent in violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

II.    Costs of the Action

       28.     Plaintiff seeks $3,527.75 in costs of this action, together with reasonable attorney’s

fees pursuant to 15 U.S.C. § 1692k(a)(3). A true and correct copy of Plaintiff’s Affidavit

in Support of Plaintiff’s Motion for Default Judgment is attached hereto as Group Exhibit A.

       WHEREFORE, Plaintiff respectfully requests this Court:

       A.      Enter an Order of Default Judgment against Defendant or in favor of Plaintiff;
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     B.    Award statutory damages in amount of $1,000.00 to Plaintiff pursuant to 15 U.S.C.

           § 1692k(a)(2)(A);

     C.    Award costs of this action, together with reasonable attorney’s fees in amount of

           $3,527.75 to Plaintiff pursuant to 15 U.S.C. § 1692k(a)(3).

     D.    Award statutory damages in the minimum amount of $5,000 to Plaintiff pursuant

           to 47 U.S.C. § 227 (b)(1)(A)(iii).

     E.    Allow post-judgment interest to accrue; and

     F.    Grant such other relief as this Court deems just and proper.

DATED: May 19, 2021                             Respectfully submitted,

                                                HERMENA THOMPSON

                                                By: /s/ Victor T. Metroff

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2021, I electronically filed the foregoing with the Clerk of
the Court for the United States District Court for the Northern District of Illinois by using the
CM/ECF system.

       I further certify that I caused a true and correct copy of the foregoing MOTION FOR
DEFAULT JUDGMENT to be served via United States Postal Service Priority Mail on May 19,
2021 to:

                             Accredited Management Solutions LLC
                                      c/o Registered Agent
                                         Jeremy Brown
                                       8625 Transit Road
                                   East Amherst, NY 14051

                                                             /s/ Victor T. Metroff
